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                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

                                                                         )
    In re:                                                               ) Chapter 11
                                                                         )
                                                          1
    HORNBLOWER HOLDINGS LLC, et al.,                                     ) Case No. 24-90061 (MI)
                                                                         )
                               Debtors.                                  ) (Jointly Administered)
                                                                         )

         DEBTORS’ MOTION FOR ENTRY OF AN ORDER (A) CONDITIONALLY
               APPROVING THE ADEQUACY OF THE DISCLOSURE
        STATEMENT, (B) APPROVING THE SOLICITATION PROCEDURES AND
        SOLICITATION PACKAGES, (C) SCHEDULING A COMBINED HEARING,
    (D) ESTABLISHING PROCEDURES FOR OBJECTING TO THE PLAN AND FINAL
     APPROVAL OF THE DISCLOSURE STATEMENT, (E) APPROVING THE FORM,
     MANNER, AND SUFFICIENCY OF NOTICE OF THE COMBINED HEARING, (F)
          APPROVING THE RIGHTS OFFERING PROCEDURES AND RELATED
     MATERIALS, (G) SCHEDULING CERTAIN DATES RELATED THERETO, AND
                        (H) GRANTING RELATED RELIEF

      If you object to the relief requested, you must respond in writing. Unless otherwise directed by the court,
      you must file your response electronically at https://ecf.txsb.uscourts.gov/ within twenty-one days from
      the date this motion was filed. If you do not have electronic filing privileges, you must file a written
      objection that is actually received by the clerk within twenty-one days from the date this motion was filed.
      Otherwise, the court may treat the pleading as unopposed and grant the relief requested.
      A hearing will be conducted on this matter on April 12, 2024, at 7:30 a.m. (prevailing Central Time) in
      Courtroom 404, 4th floor, 515 Rusk, Houston, Texas 77002. You may participate in the hearing either
      in person or by an audio and video connection.
      Audio communication will be by use of the Court’s dial-in facility. You may access the facility at (832)
      917-1510. Once connected, you will be asked to enter the conference room number. Judge Isgur’s
      conference room number is 954554. Video communication will be by use of the GoToMeeting platform.
      Connect via the free GoToMeeting application or click the link on Judge Isgur’s homepage. The meeting
      code is “judgeisgur”. Click the settings icon in the upper right corner and enter your name under the
      personal information setting.
      Hearing appearances must be made electronically in advance of both electronic and in-person hearings.
      To make your appearance, click the “Electronic Appearance” link on Judge Isgur’s homepage. Select
      the case name, complete the required fields, and click “Submit” to complete your appearance.



1
      The last four digits of Debtor Hornblower Holdings LLC’s tax identification number are 6035. Due to the large
      number of debtor entities in these chapter 11 cases, for which the Debtors have requested joint administration, a
      complete list of the debtor entities and the last four digits of their federal tax identification numbers is not provided
      herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing
      agent at https://omniagentsolutions.com/Hornblower. The location of the Debtors’ service address for purposes
      of these chapter 11 cases is: Pier 3 on The Embarcadero, San Francisco, CA 94111.
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        The debtors and debtors-in-possession (collectively, the “Debtors”) in the above-captioned

cases respectfully state as follows in support of this motion:

                                         Preliminary Statement 2

        1.      The Debtors file this motion to facilitate the swift confirmation of a chapter 11 plan

that implements the terms of a comprehensive financial restructuring supported by an

overwhelming majority of their first lien lenders. As a result of extensive negotiations with the

Ad Hoc Group, on February 21, 2024, the Debtors executed a Restructuring Support Agreement

(the “RSA”) with the Holders of over 98% of the HB First Lien Claims, which sets forth the

framework for the Restructuring Transactions embodied in the Plan and as is further described in

the related Disclosure Statement, each of which were filed contemporaneously with this motion.

        2.      Among other things, the Plan provides for (a) the deleveraging of the Debtors’

balance sheet through the equitization of more than $700 million of HB First Lien Claims, resulting

in a material reduction of funded indebtedness, (b) a fully backstopped rights offering to participate

in the purchase of $345 million (subject to reduction as described in the Plan) of new equity

interests in Reorganized Hornblower offered to holders of Allowed HB First Lien Claims (the

“Rights Offering”), and (c) the incurrence of the Exit Term Loans and Exit Revolver, which will,

among other things, provide sufficient liquidity for the Debtors to operate successfully post-

emergence. To that end, consistent with their obligations under the RSA, the Debtors are seeking

to emerge from chapter 11 as quickly as the Court’s schedule and the requisite notice periods will

permit. The Debtors are confident that confirmation of the Plan represents the best avenue for the

Debtors to reorganize and maximize the value of their estates for the benefit of all stakeholders.




2
    Capitalized terms used but not defined herein shall have the meaning ascribed to such terms in the Plan, the
    Disclosure Statement, or the Rights Offering Procedures, as applicable.


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                                       Relief Requested

       3.      By this motion, the Debtors seek entry of an order, substantially in the form

attached hereto (the “Order”):

               a.     conditionally approving the adequacy of the Disclosure Statement for the
                      Joint Chapter 11 Plan of Reorganization of Hornblower Holdings LLC and
                      Its Debtor Affiliates, dated March 18, 2024, and filed contemporaneously
                      herewith (as amended, modified, or supplemented from time to time,
                      the “Disclosure Statement”);

               b.     scheduling a hearing (the “Combined Hearing”) to consider final approval
                      of the Disclosure Statement and confirmation of the Joint Chapter 11 Plan
                      of Reorganization of Hornblower Holdings LLC and Its Debtor Affiliates
                      (as amended, modified, or supplemented from time to time, the “Plan”),
                      filed contemporaneously herewith;

               c.     approving the solicitation procedures set forth herein (the “Solicitation
                      Procedures”) with respect to the Plan, including approving the Solicitation
                      Packages (as defined herein) and the forms of Ballots and Notices of
                      Non-Voting Status (each as defined herein), establishing a voting record
                      date and voting deadline, and approving the vote tabulation procedures;

               d.     approving the Rights Offering Procedures (as defined herein) and related
                      dates and deadlines, substantially in the form attached to the Order as
                      Exhibit I, and the form of materials necessary to consummate the Rights
                      Offering under the terms of the Rights Offering Procedures, including the
                      subscription form to be utilized by holders of Allowed HB First Lien Claims
                      to exercise subscription rights in the Rights Offering (the “Subscription
                      Form”) and the affidavit of U.S. citizenship in connection with the Debtors’
                      obligations under the U.S. Coastwise Trade Laws (a “U.S. Citizenship
                      Affidavit”, and together with the Subscription Form, the “Rights Offering
                      Materials”), substantially in the forms attached to the Order as Exhibit J and
                      Exhibit K, respectively;

               e.     finding that the solicitation materials and documents included in the
                      Solicitation Packages comply with rules 3017(d) and 2002(b) of the Federal
                      Rules of Bankruptcy Procedure, as modified by the Order;

               f.     approving the letter (the “Cover Letter”) that the Debtors will send to
                      Holders of Claims entitled to vote to accept or reject the Plan, urging such
                      Holders to vote in favor of the Plan;

               g.     establishing the deadline to object to confirmation of the Plan
                      (the “Objection Deadline”);



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               h.        approving the form and manner of the publication notice of the Combined
                         Hearing (the “Publication Notice”);

               i.        approving the form of notices to counterparties to Executory Contracts and
                         Unexpired Leases that will be assumed or rejected pursuant to the Plan (the
                         “Cure Notice” and the “Rejection Notice,” respectively);

               j.        establishing certain dates and deadlines with respect to the schedule for
                         confirmation of the Plan, subject to modification if necessary;

               k.        approving the form and manner of notice of the Combined Hearing (the
                         “Combined Hearing Notice”); and

               l.        granting related relief.

         4.    The following table provides certain proposed dates and deadlines requested by this

motion (in each case, subject to the Court’s calendar):

 Event                            Date                          Description

                                                                Date to determine (i) which Holders of Claims are
                                                                entitled to vote to accept or reject the Plan (the
 Voting Record Date & Record
                                  April 22, 2024                “Voting Record Date”) and (ii) which Holders of
 Date for Rights Offering
                                                                Claims are eligible to participate in the Rights
                                                                Offering.

                                  Within four (4) business      Date by which the Debtors will mail the
                                  days after the later of (i)   Combined Hearing Notice and publish the
                                  entry of the Order and (ii)   Publication Notice.
 Mailing & Publication            the filing of the Debtors’
 Deadline                         Schedules (as defined
                                  herein), or as soon as
                                  reasonably      practicable
                                  thereafter




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Event                            Date                          Description

                                                               Date by which (a) the Debtors will begin
                                                               soliciting votes to accept or reject the Plan from
                                                               (i) Holders of Claims that are scheduled by the
                                                               Debtors and (ii) parties that Filed a Proof of
                                                               Claim on or before Voting Record Date, (b) the
                                                               Debtors will distribute a Notice of Non-Voting
                                 Within four (4) business      Status to (i) Holders of Claims that are scheduled
Solicitation Deadline &          days after the later of (i)   by the Debtors and (ii) parties that Filed a Proof
Subscription Commencement        entry of the Order and (ii)   of Claim on or before Voting Record Date that are
Date                             the filing of the Debtors’    not entitled to vote to accept or reject the Plan (the
                                 Schedules                     “Solicitation Deadline”), (c) the Debtors will
                                                               commence the Rights Offering, and (d) Eligible
                                                               Holders will receive copies of the Rights Offering
                                                               Procedures and the Subscription Form and
                                                               Requisite Documentation and may exercise
                                                               Subscription      Rights      (the     “Subscription
                                                               Commencement Date”).

                                                               Date by which the Debtors will file the Plan
Plan Supplement Filing           May 17, 2024
                                                               Supplement.

                                                               Date by which creditors seeking to have a Claim
Voting Resolution Event                                        temporarily allowed for purposes of voting to
                                 May 17, 2024
Deadline                                                       accept or reject the Plan pursuant to Bankruptcy
                                                               Rule 3018(a) are required to file a motion.

                                                               Deadlines by which (a) Holders of Claims
                                                               entitled to vote on the Plan must vote to accept or
                                                               reject the Plan, (b) Holders of Claims and
Voting Deadline & Rights         May 24, 2024, at 4:00 p.m.
                                                               Interests in non-voting Classes may submit opt-
Offering Expiration Time         (prevailing Central Time)
                                                               out forms, and (c) Eligible Holders must exercise
                                                               Subscription Rights and subscribe for the
                                                               Subscription Securities.

                                 May 24, 2024, at 4:00 p.m.    Deadline by which parties in interest may object
Objection Deadline
                                 (prevailing Central Time)     to confirmation of the Plan.

                                                               Date by which the report tabulating the voting on
                                 May 29, 2024, at 4:00 p.m.
Deadline to File Voting Report                                 the Plan (the “Voting Report”) shall be filed with
                                 (prevailing Central Time)
                                                               the Court.

Confirmation Brief Deadline                                    Deadlines by which the Debtors shall (i) file
& 3018(a) Motion Response        May 31, 2024                  brief(s) in support of confirmation of the Plan and
Deadline                                                       (ii) file response(s) to any filed 3018(a) motions.

                                 June 3, 2024, at 9:00 a.m.    Combined Hearing.
Combined Hearing
                                 (prevailing Central Time)




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                                         Jurisdiction and Venue

        5.       The United States Bankruptcy Court for the Southern District of Texas

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. § 1334.

        6.       This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b). Venue

is proper pursuant to 28 U.S.C. § 1408.

        7.       The bases for the relief requested herein are sections 105(a), 1125, 1126, and 1128

of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), rules 2002,

3016, 3017, 3018, 3020, and 9006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), rules 3016-1 and 9013-1 of the Bankruptcy Local Rules for the Southern District of Texas

(the “Bankruptcy Local Rules”), and the Procedures for Complex Chapter 11 Cases in the

Southern District of Texas effective as of January 1, 2023 (the “Complex Case Procedures”).

        8.       On February 21, 2024 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code. On February 21, 2024, the Court entered an order

authorizing the joint administration and procedural consolidation of these chapter 11 cases

pursuant to Bankruptcy Rule 1015(b) and Bankruptcy Local Rule 1015-1 [Docket No. 20]. The

Debtors are operating their businesses and managing their property as debtors in possession

pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. On March 5, 2024, the Office of

the United States Trustee for the Southern District of Texas (the “U.S. Trustee”) appointed an

Official Committee of Unsecured Creditors (the “Creditors’ Committee”) [Docket No. 195]. 3 No

request for the appointment of a trustee or examiner has been made in these chapter 11 cases.

        9.       A detailed description of the Debtors and their businesses, including the facts and

circumstances giving rise to the Debtors’ chapter 11 cases, is set forth in the Declaration of


3
    The U.S. Trustee filed a corrected notice of appointment on March 6, 2024 [Docket No. 208].


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Jonathan Hickman in Support of Chapter 11 Petitions and First Day Motions [Docket No. 25] (the

“First Day Declaration”), incorporated herein by reference.

                                        Summary of Plan Treatment

        10.      The Plan classifies Claims against and Interests in the Debtors, and provides for the

treatment of each Class as follows: 4

                 Claims or                                                       Impaired or      Entitlement
      Class                                      Treatment
                 Interests                                                       Unimpaired         to Vote
                                Each Holder of an Allowed Other Secured
                                Claim shall receive, at the option of the
                                Debtors, Reorganized Debtors, or AQV Wind
                                Down Co., as applicable, either:
                                i.   payment in full in Cash of the unpaid
                                     portion of their Allowed Other Secured
                                     Claim, including any interest thereon
                                     required to be paid under section 506(b)                   Not Entitled to
               Other Secured         of the Bankruptcy Code (or if payment is                   Vote
         1                           not then due, on the due date of such Unimpaired
               Claims                                                                           (Presumed to
                                     Allowed Other Secured Claim);                              Accept)
                                ii. Reinstatement pursuant to section 1124
                                     of the Bankruptcy Code;
                                iii. the return or abandonment of the
                                     collateral securing such Claim to such
                                     Holder; or
                                iv. such other treatment necessary to satisfy
                                     section 1124 of the Bankruptcy Code.
                                Each Holder of an Allowed Other Priority
                                Claim shall receive payment in full, in Cash,
                                                                                                Not Entitled to
                                of the unpaid portion of its Allowed Other
               Other Priority                                                                   Vote
         2                      Priority Claim on the Plan Effective Date or Unimpaired
               Claims                                                                           (Presumed to
                                as soon thereafter as reasonably practicable
                                                                                                Accept)
                                (or, if payment is not then due, on the due date
                                of such Other Priority Claim).
                                On the Plan Effective Date or as soon
                                thereafter as reasonably practicable, each
               First Lien       Holder of an Allowed First Lien Claim shall                     Entitled to
         3                                                                       Impaired
               Claims           receive its Pro Rata share of:                                  Vote
                                i.   96% of the Rights;

4
    This summary is for ease of reference only and shall not limit, modify, or amend the proposed treatment set forth
    in the Plan, which, in the event of any inconsistency, shall govern. Subject to the terms of the Plan, each Holder
    of an Allowed Claim or Interest, as applicable, shall receive under the Plan the treatment described below in full
    and final satisfaction, compromise, settlement, release, and discharge of and in exchange for such Holder’s
    Allowed Claim or Interest, except to the extent less favorable treatment is agreed to by the Debtors or Reorganized
    Debtors and the Holder of such Allowed Claim or Interest. Unless otherwise indicated, the Holder of an Allowed
    Claim or Interest shall receive such treatment on the later of the Plan Effective Date and the date such Holder’s
    Claim or Interest becomes an Allowed Claim or Interest or as soon as reasonably practicable thereafter.


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          Claims or                                                      Impaired or    Entitlement
Class                                   Treatment
          Interests                                                      Unimpaired       to Vote
                       ii.  96% of the New HB Common Equity (or
                            New Warrants) (subject to dilution on
                            account of the New HB Common Equity
                            (or New Warrants) issued in connection
                            with (A) the Rights Offering, (B) the
                            Backstop Commitment Premium, and
                            (C) the MIP Equity);
                       iii. the Crestview Cash Contribution;
                            provided that such Holder (or any
                            Related Fund) may elect to use its Pro
                            Rata share of the Crestview Cash
                            Contribution as a credit towards the
                            exercise of its Rights, in which case such
                            portion of the Crestview Cash
                            Contribution shall be retained by the
                            Hornblower Debtors; and
                       iv. 96% of the AQV Net Cash Proceeds.
                       On the Plan Effective Date or as soon
                       thereafter as reasonably practicable, each
                       Holder of an Allowed Revolver Claim shall
                       receive its Pro Rata share of:
                         i. 4% of the Rights;
                       ii. 4% of the New HB Common Equity (or
        Revolver            New Warrants) (subject to dilution on Impaired             Entitled to
 4
        Claims              account of the New HB Common Equity                        Vote
                            (or New Warrants) issued in connection
                            with (A) the Rights Offering, (B) the
                            Backstop Commitment Premium, and
                            (C) the MIP Equity); and
                       iii. 4% of the AQV Net Cash Proceeds.

        General
 5                                                                                     Entitled to
        Unsecured      [●]                                               Impaired
                                                                                       Vote
        Claims
        Unsecured Go-                                                                  Entitled to
 6      Forward Trade [●]                                            Impaired
                                                                                       Vote
        Claims
                      On the Plan Effective Date, all Intercompany
                      Claims will be adjusted, Reinstated, or
                      discharged in the Debtors’ discretion, subject
                      to the reasonable consent of, with respect to
                                                                                       Not Entitled to
                      Intercompany Claims held by another Debtor
                                                                                       Vote
                      or against a Hornblower Debtor, the Required
 7      Intercompany Consenting HB First Lien Lenders and, with Unimpaired /           (Presumed to
        Claims                                                       Impaired          Accept /
                      respect to Intercompany Claims held by any
                                                                                       Deemed to
                      Journey Beyond Entity against Journey
                                                                                       Reject)
                      Beyond Holdings, LLC, the Consenting JBIH
                      Lenders. For the avoidance of doubt, on the
                      Plan Effective Date, the JB Intercompany
                      Loans shall be cancelled and discharged.



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                Claims or                                                 Impaired or     Entitlement
      Class                                  Treatment
                Interests                                                 Unimpaired        to Vote
                             All Intercompany Interests shall be Reinstated
                                                                                         Not Entitled to
                             or cancelled in the Debtors’ discretion, subject
                                                                                         Vote
                             to the reasonable consent of, with respect to
        8     Intercompany the Reorganized Hornblower Debtors, the Unimpaired /          (Presumed to
              Interests                                                       Impaired   Accept /
                             Required Consenting HB First Lien Lenders,
                                                                                         Deemed to
                             and, with respect to the Journey Beyond
                                                                                         Reject)
                             Entities, the Consenting JBIH Lenders.
                             On the Plan Effective Date, all Section 510(b)
                             Claims against the Debtors shall be
                                                                                         Not Entitled to
                             discharged and released, and the Holders of
              Section 510(b) Section 510(b) Claims shall not receive or                  Vote
        9                                                                     Impaired
              Claims                                                                     (Deemed to
                             retain any distribution, property, or other
                                                                                         Reject)
                             value on account of their Section 510(b)
                             Claims.
                             On the Plan Effective Date, all Interests in
              Interests in   Hornblower and Hornblower Holdings LLC
                                                                                         Not Entitled to
              Hornblower     will be cancelled and the Holders of such
                                                                                         Vote
       10     and            Interests shall not receive or retain any Impaired
                                                                                         (Deemed to
              Hornblower     distribution, property, or other value on
                                                                                         Reject)
              Holdings LLC account of their Interests in Hornblower or
                             Hornblower Holdings LLC.

                                  Proposed Solicitation Procedures

       11.      In connection with the Plan, the Debtors have prepared the Disclosure Statement,

which describes, among other things, the Debtors’ proposed restructuring and its effects on

Holders of Claims against and Interests in the Debtors. The proposed Solicitation Procedures

provide that, within four (4) business days following the later of (i) the Court’s entry of the Order

and (ii) the filing of the Debtors’ Schedules, the Debtors, through their notice and claims agent,

Omni Agent Solutions, Inc. (the “Notice and Claims Agent”), will mail to the Holders of Claims,

as of the Voting Record Date, in Class 3 (First Lien Claims), Class 4 (Revolver claims), Class 5

(General Unsecured Claims), and Class 6 (Unsecured Go-Forward Trade Claims) (such classes,

the “Voting Classes”), the following materials in connection with voting on the Plan

(the “Solicitation Package”): (a) the Disclosure Statement; (b) the exhibits to the Disclosure

Statement, which include (i) the Plan and exhibits thereto, (ii) the RSA and the exhibits thereto,

(iii) the Debtors’ corporate structure chart, (iv) the Valuation Analysis, (v) the Liquidation


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Analysis, and (vi) the Financial Projections; (c) a copy of the Order entered by this Court (without

exhibits) approving, among other things, the Disclosure Statement on a conditional basis and the

Solicitation Procedures; (d) the appropriate ballot with voting instructions for each Holder

(accompanied by a postage prepaid business reply envelope addressed to the Notice and Claims

Agent); (e) the Combined Hearing Notice; and (f) the Cover Letter, a form of which is attached to

the Order as Exhibit H. Copies of the documents provided in the Solicitation Package may also

be downloaded and/or viewed free of charge by all parties in interest at the website maintained by

the Notice and Claims Agent at https://omniagentsolutions.com/Hornblower or by contacting the

Notice and Claims Agent via email at HornblowerInquiries@OmniAgnt.com.

         12.   The instructions on the Ballots advise the Holders in Voting Classes that, to be

counted, their Ballots must be properly executed, completed, and delivered to the Notice and

Claims Agent so that the Ballots are actually received by the Notice and Claims Agent no later

than 4:00 p.m. (prevailing Central Time) on May 24, 2024, unless such time is extended by the

Debtors. The Debtors anticipate commencing solicitation of the Plan promptly after entry of the

Order.

         13.   Holders of Class 1 (Other Secured Claims), Class 2 (Other Priority Claims), Class

7 (Intercompany Claims), Class 8 (Intercompany Interests), Class 9 (Section 510(b) Claims), and

Class 10 (Interests in Hornblower and Hornblower Holdings LLC) (such Classes, the “Non-Voting

Classes”) will not be provided the Solicitation Package because such Holders are either

(a) unimpaired under, and conclusively presumed to accept, the Plan pursuant to section 1126(f)

of the Bankruptcy Code or (b) impaired under, and conclusively presumed to reject, the Plan

pursuant to section 1126(g) of the Bankruptcy Code. Notwithstanding the foregoing, as discussed

further herein, for purposes of effectuating the releases set forth in the Plan, the Debtors propose



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to send the Notice of Non-Voting Status to all Holders in the Non-Voting Classes (other than

Holders in Class 7 and Class 8) contemporaneously with distributing the Solicitation Packages.

With respect to Non-Voting Holders of Claims in Classes 1, 2, 9, and 10, such notices will include

a form and return envelope addressed to the Notice and Claims Agent allowing such Holders, at

their election, to opt-out of the releases set forth in the Plan by the Voting Deadline.

          14.      In compliance with section 1123(a)(1) of the Bankruptcy Code and as reflected in

Article II of the Plan, Administrative Claims, DIP Claims, and Priority Tax Claims are not

classified under the Plan. See 11 U.S.C. § 1123(a)(1) (providing for classification of claims other

than administrative and priority tax claims). As such, Holders of such Claims are not entitled to

vote on the Plan and will not be provided the Solicitation Package; however, the Notice and Claims

Agent will send Holders of such Claims a Combined Hearing Notice.

                                          Rights Offering Procedures

          15.      In connection with the Plan, the Debtors intend, upon the Court’s approval of the

Rights Offering Procedures attached to the Order as Exhibit I, to launch the Rights Offering

pursuant to which Eligible Holders (as defined in the Rights Offering Procedures) will be offered

the right to participate in the Rights Offering. The Debtors, in consultation with the advisors to

the Commitment Parties, have formulated the Rights Offering Procedures. The following chart

summarizes the principal terms of the Rights Offering Procedures: 5


                                      Summary of Rights Offering Procedures

                                                              Pursuant to the Plan, each Eligible Holder is entitled to
    Transaction                                               participate in the Rights Offering to subscribe for up to
                                                              its Pro Rata share to purchase New HB Common Equity


5
      This summary is qualified in its entirety by reference to the provisions of the Rights Offering Procedures. To the
      extent that any discrepancies exist between the summary described in this motion and the terms of the Rights
      Offering Procedures, the Rights Offering Procedures control. Capitalized terms used in this summary shall have
      the meaning ascribed to them in the Rights Offering Procedures or this motion, as applicable.


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                                       (or New Warrants) of Reorganized Hornblower for an
                                       aggregate cash purchase price of $345 million (subject
                                       to reduction pursuant to the Plan), on the terms set forth
                                       in the Rights Offering Procedures and the Plan;
                                       provided, however, that Eligible Holders that are
                                       Commitment Parties must exercise their Subscription
                                       Rights pursuant to the Backstop Commitment
                                       Agreement.

Eligibility                            Holders of Allowed HB First Lien Claims.


Rights Offering Subscription Agent     Omni Agent Solutions.

                                       Once an Eligible Holder has properly exercised its
Transfer Restriction; Revocation       Subscription Rights, such exercise will be irrevocable
                                       unless the Rights Offering is terminated.
                                       An Eligible Holder electing to participate in the Rights
                                       Offering must:
                                           •    (a) duly complete and execute a Subscription
                                                Form (including accompanying IRS Form W-9
                                                or appropriate IRS Form W-8, as applicable,
                                                and the Requisite Documentation) in
                                                accordance with the Rights Offering
                                                Procedures, and (b) deliver its executed
                                                Subscription Form and the Requisite
                                                Documentation, including the U.S. Citizenship
                                                Affidavit, to the Rights Offering Subscription
                                                Agent such that the Subscription Form and
                                                Requisite Documentation is actually received
                                                by the Rights Offering Subscription Agent at or
                                                prior to the Rights Offering Expiration Time
Exercise of Subscription Rights                 via the Rights Offering Subscription Agent’s
                                                E-Portal;
                                           •    for Eligible Holders who wish to designate
                                                another person to receive their Subscription
                                                Securities, complete Item 5 of the Subscription
                                                Form with such designee’s information;
                                           •    if the Eligible Holder is not a Commitment
                                                Party, coordinate payment of its Purchase Price
                                                at or prior to the Rights Offering Expiration
                                                Time for the Subscription Securities for which
                                                it has subscribed by wire transfer ONLY of
                                                immediately available funds to the Rights
                                                Offering Subscription Agent; and
                                           •    if the Eligible Holder is a Commitment Party,
                                                make payment of its Purchase Price to the
                                                Subscription Account at or prior to the
                                                Subscription Funding Date in accordance with


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                                                               Section 2.4 of the Backstop Commitment
                                                               Agreement.
                                                     Unless the Plan Effective Date has occurred, the Rights
                                                     Offering (a) will be deemed automatically terminated
                                                     without any action of any party upon the termination of
                                                     the Backstop Commitment Agreement in accordance
                                                     with its terms or (b) may be terminated by mutual
                                                     agreement of the Debtors and the Required
                                                     Commitment Parties. Pursuant to the Plan, the Rights
                                                     Offering Amount may be reduced to the extent Projected
                                                     Minimum Liquidity would exceed the Minimum
                                                     Liquidity Amount. In the event that (i) the Rights
 Termination; Reduction of Rights Offering Amount;   Offering is terminated or (ii) the Rights Offering
                                                     Amount is reduced pursuant to the Plan, any payments
 Return of Payment
                                                     (or, in the case of a reduction in the Rights Offering
                                                     Amount, any excess payments) received pursuant to the
                                                     Rights Offering Procedures will be returned, without
                                                     interest, to the applicable Eligible Holder or relevant
                                                     payee as soon as reasonably practicable, but in any event
                                                     within seven (7) Business Days after the date of
                                                     termination or reduction, as applicable, and upon receipt
                                                     by the Rights Offering Subscription Agent of the final
                                                     refund instructions from the Debtors (or such earlier
                                                     date set forth in the Backstop Commitment Agreement
                                                     or the agreement governing the Subscription Account).



       16.     The Rights Offering will be backstopped, severally and not jointly, by the Backstop

Parties pursuant to the Backstop Commitment Agreement, subject to this Court’s approval of the

Backstop Commitment Agreement as requested in the Debtors’ Motion for Entry of an Order (I)

Authorizing the (A) Debtors’ Entry Into, and Performance Under, the Backstop Commitment

Agreement and (B) Payment of Related Fees, Premiums, Indemnities, and Expenses, and (II)

Granting Related Relief [Docket No. 243].

       17.     All New HB Common Equity (or New Warrants) issued pursuant to the Rights

Offering will be issued in reliance on and in compliance with the exemption from registration

provided by Section 4(a)(2) of the Securities Act (“Section 4(a)(2)”) and/or Regulation D

promulgated thereunder (“Regulation D”), or another available exemption from registration, as



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applicable.   Such securities will be “restricted securities” within the meaning of Rule 144

promulgated under the Securities Act, and subject to resale restrictions and may be resold,

exchanged, assigned, or otherwise transferred only pursuant to registration or an applicable

exemption from registration under the Securities Act and other applicable law. All New HB

Common Equity (or New Warrants) issued to (i) the Holders of Allowed HB First Lien Claims on

account of their Allowed HB First Lien Claims and (ii) the Commitment Parties in satisfaction of

the Backstop Commitment Premium pursuant to the Backstop Commitment Agreement, will be

issued in reliance on the exemption from registration under the Securities Act provided by section

1145 of the Bankruptcy Code to the maximum extent permitted by law and, to the extent such

exemption is unavailable, will be issued solely to qualified holders in reliance on the exemption

provided by Section 4(a)(2) and/or Regulation D, or another available exemption from registration,

as applicable.

       18.       Upon the Court’s entry of the Order, the Debtors intend to commence the Rights

Offering by the Solicitation Deadline, and, in accordance with the Rights Offering Procedures, set

the Rights Offering Expiration Time on May 24, 2024 at 4:00 p.m. (prevailing Central Time). The

proposed duration of the Rights Offering will afford Eligible Holders at least twenty-nine (29)

calendar days to participate in the Rights Offering, and is reasonable under the circumstances.

       19.       For more information regarding the Rights Offering, Eligible Holders should refer

to the Rights Offering Procedures. The Rights Offering Procedures are designed to efficiently

transmit all materials necessary for participation in the Offering in compliance with applicable

bankruptcy and non-bankruptcy law. The respective Subscription Form and U.S. Citizenship

Affidavit, in the forms attached to the Order as Exhibits J and K, respectively, are each designed

to assure the clear communication of the requirements for, and to facilitate, such participation.



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                                            Basis for Relief

A.      The Court Should Conditionally Approve the Disclosure Statement

        20.     Pursuant to section 1125(b) of the Bankruptcy Code, “[a]n acceptance or rejection

of a plan may not be solicited . . . unless . . . a written disclosure statement [is] approved . . . by the

court as containing adequate information.” 11 U.S.C. § 1125(b). Section 1125(a)(1) of the

Bankruptcy Code defines “adequate information” as follows:

        information of a kind, and in sufficient detail, as far as is reasonably practicable in
        light of the nature and history of the debtor and the condition of the debtor’s books
        and records, including a discussion of the potential material Federal tax
        consequences of the plan to the debtor, any successor to the debtor, and a
        hypothetical investor typical of the holders of claims or interests in the case, that
        would enable such a hypothetical investor of the relevant class to make an informed
        judgment about the plan . . .

11 U.S.C. § 1125(a)(1). See also In re J.D. Mfr., Inc., 2008 WL 4533690, at *2 (Bankr. S.D. Tex.

Oct. 2, 2008) (“‘Adequacy’ of information is a determination that is relative both to the entity (e.g.,

assets/business being reorganized or liquidated) and to the sophistication of the creditors to whom

the disclosure statement is addressed.”); In re U.S. Brass Corp., 194 B.R. 420, 423 (Bankr. E.D.

Tex. 1996) (stating that “[t]he purpose of the disclosure statement is . . . to provide enough

information to interested persons so they may make an informed choice”). Congress intended the

determination of whether a disclosure statement contains adequate information to be a flexible,

fact-specific inquiry left to the Court’s discretion:

        Precisely what constitutes adequate information in any particular instance will
        develop on a case-by-case basis. Courts will take a practical approach as to what is
        necessary under the circumstances of each case, such as the cost of preparation of
        the statements, the need for relative speed in solicitation and confirmation, and, of
        course, the need for investor protection. There will be a balancing of interests in
        each case. In reorganization cases, there is frequently great uncertainty. Therefore
        the need for flexibility is greatest.

H.R. Rep. 95-595, at 409 (1977), reprinted in 1978 U.S.C.C.A.N. 5963, 6365. See also Mabey v.

Sw. Elec. Power Co. (In re Cajun Elec. Power Co-op., Inc.), 150 F.3d 503, 518 (5th Cir. 1998)

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(“The legislative history of § 1125 indicates that, in determining what constitutes ‘adequate

information’ with respect to a particular disclosure statement . . . the kind and form of information

are left essentially to the judicial discretion of the court and that the information required will

necessarily be governed by the circumstances of the case.”).

       21.     In making a determination as to whether a disclosure statement contains adequate

information as required by section 1125 of the Bankruptcy Code, courts typically look for

disclosures related to topics such as:

               a.      the events that led to the filing of a bankruptcy petition;

               b.      the relationship of the debtors with their affiliates;

               c.      a description of the available assets and their value;

               d.      the anticipated future of the companies;

               e.      the source of information stated in the disclosure statement;

               f.      the present condition of the debtors while in chapter 11;

               g.      claims asserted against the debtors;

               h.      the estimated return to creditors under a chapter 7 liquidation;

               i.      the chapter 11 plan or a summary thereof;

               j.      financial information, valuations, and projections relevant to the creditors’
                       decision to accept or reject the chapter 11 plan;

               k.      information relevant to risks posed to creditors under the plan;

               l.      the actual or projected realizable value from recovery of preferential or
                       otherwise avoidable transfers;

               m.      litigation likely to arise in a non-bankruptcy context; and

               n.      tax attributes of the debtors.

See In re U.S. Brass Corp., 194 B.R. at 424-25 (citing In re Metrocraft Pub. Servs., Inc., 39 B.R.

567, 568 (Bankr. N.D. Ga. 1984)); see also In re Phx. Petroleum Co., 278 B.R. 385, 393 (Bankr.



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E.D. Pa. 2001) (citing factors that courts have considered in determining the adequacy of

information provided in a disclosure statement); In re Scioto Valley Mortg. Co., 88 B.R. 168,

170-71 (Bankr. S.D. Ohio 1988) (setting forth a non-exhaustive list of 19 categories of information

that may be included in a disclosure statement). Disclosure regarding all of the aforementioned

topics is not necessary in every case. See In re U.S. Brass, 194 B.R. at 425; see also In re Phx.

Petroleum, 278 B.R. at 393 (“[C]ertain categories of information which may be necessary in one

case may be omitted in another; no one list of categories will apply in every case.”).

        22.      Here, the Disclosure Statement is extensive and comprehensive and contains

adequate information within the meaning of section 1125 of the Bankruptcy Code. The Disclosure

Statement contains detailed information with respect to, among other things, (a) the Plan, (b) the

Debtors’ business operations, (c) key events leading to the commencement of these chapter 11

cases, (d) the Debtors’ significant prepetition indebtedness, (e) the proposed capital structure of

the Reorganized Debtors, (f) financial information and valuations that would be relevant to

creditors’ determination to accept or reject the Plan, (g) a liquidation analysis setting forth the

estimated return that Holders of Claims and Interests would receive in a hypothetical chapter 7

liquidation, (h) securities disclosures with respect to the Plan, (i) risk factors associated with the

Plan, and (j) federal tax law consequences of the Plan. 6 In addition, the Disclosure Statement was

the subject of extensive review and comment by, among others, counsel and advisors to the RSA

Parties leading up to its filing and the filing of this motion. The Debtors believe that the

information provided in the Disclosure Statement is sufficiently detailed and contains adequate




6
    To the extent any of this information is not already included in the Disclosure Statement, such information will
    be provided prior to the hearing to consider the Disclosure Statement.


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information to allow the Holders of Claims in the Voting Classes to make an informed decision

regarding whether to vote to accept or reject the Plan.

         23.   Bankruptcy Local Rule 3016-2 and section P of the Complex Case Procedures

permit a plan proponent to move for conditional approval of a disclosure statement and a combined

hearing to consider final approval of the disclosure statement and confirmation of the plan.

Conditional approval of the Disclosure Statement and proceeding with the Combined Hearing on

an expedited timeline are warranted under the circumstances of these chapter 11 case to meet the

milestones in the RSA and to expedite the chapter 11 cases. Accordingly, the Debtors respectfully

submit that the Disclosure Statement contains “adequate information” within the meaning of

section 1125 of the Bankruptcy Code and, therefore, should be conditionally approved by the

Court.

B.       The Disclosure Statement Provides Sufficient Notice of Injunction, Release, and
         Exculpation Provisions in the Plan

         24.   Bankruptcy Rule 3016(c) requires that, if a plan provides for an injunction against

conduct not otherwise enjoined under the Bankruptcy Code, the plan and disclosure statement must

describe, in specific and conspicuous language, the acts to be enjoined and the entities subject to

the injunction. See Fed. R. Bankr. P. 3016(c).

         25.   Article IX.F of the Plan describes in detail the entities subject to an injunction under

the Plan and the acts that they are enjoined from pursuing. Moreover, Articles IX.C, D, and E of

the Plan describe in detail the release and exculpation provisions of the Plan. Articles IX.C, D, E,

and F are set forth conspicuously in bold typeface in the Plan and in Article VI of the Disclosure

Statement. Accordingly, the Debtors respectfully submit that the Disclosure Statement complies

with Bankruptcy Rule 3016(c).




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C.      The Court Should Approve the Solicitation Procedures and Forms of Solicitation
        Materials

             i.   Establishing a Voting Record Date

        26.       Bankruptcy Rule 3017(d) provides that, for soliciting votes in connection with a

plan, eligible voting holders of claims and interests are “of record on the date the order approving

the disclosure statement is entered or another date fixed by the court, for cause, after notice and a

hearing.” Fed. R. Bankr. P. 3017(d); see also Fed. R. Bankr. P. 3018(a) (containing a similar

provision for determination of a voting record date). The Debtors request that the Court establish

April 22, 2024, as the date for determining: (a) the Holders of Claims that are entitled to receive a

Solicitation Package, (b) the Holders of Claims that are entitled to vote to accept or reject the Plan,

and (c) whether Claims have been properly transferred to an assignee pursuant to Bankruptcy

Rule 3001(e) such that the assignee can vote as the Holder of such Claim. To the extent a claimant

that was not included on the Debtors’ Schedules of Assets and Liabilities and Statements of

Financial Affairs (the “Schedules”) files a proof of claim asserting a general unsecured claim

before the Voting Record Date, such claimant will also be sent the Solicitation Package (including

a Ballot).

         ii.      Approval of the Solicitation Packages and Procedures

        27.       To perform a solicitation, Bankruptcy Rule 3017(d) requires, unless the Court

orders otherwise, that the Debtors transmit certain information to holders of claims and interests,

as well as to the U.S. Trustee. See Fed. R. Bankr. P. 3017(d). Pursuant to Bankruptcy Rule

3017(d), the Debtors propose that, within four (4) business days after the later of (i) the Court’s

entry of the Order and (ii) the filing of the Debtors’ Schedules, the Debtors, through the Notice

and Claims Agent, will complete distribution of the Solicitation Packages by first-class postage,

prepaid mail, overnight mail, or next day business service to the Holders in the Voting Classes as


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discussed herein. The Debtors also propose to serve the Solicitation Package, minus a Ballot, on

the Notice Parties (as defined herein), including the U.S. Trustee, as contemplated by Bankruptcy

Rule 3017(d), but request any provision of Bankruptcy Rule 3017(d) requiring the Debtors to

distribute the Disclosure Statement and the Plan to Holders of Claims and/or Interests in the Non-

Voting Classes, whether because they are unimpaired or because they are deemed to reject the

Plan, or any parties in interest other than as prescribed in the Order, be waived.

       28.     Given that the contents of the Solicitation Package are quite voluminous, and to

save unnecessary costs, the Debtors further request that they be authorized, but not directed, to

distribute the contents of the Solicitation Packages consisting of the (i) Disclosure Statement (with

all exhibits thereto, including the Plan and all exhibits thereto) and (ii) Order (without exhibits) in

an electronic format, such as a flash drive, instead of paper format. In the event such an electronic

format is used, only the contents of the Solicitation Packages consisting of the (i) Cover Letter, (ii)

Ballot (with prepaid business reply envelope addressed to the Notice and Claims Agent), and (iii)

Combined Hearing Notice will be delivered in paper format to Holders of Claims in the Voting

Classes eligible to vote on the Plan. If a party who receives a Solicitation Package electronically

prefers a paper copy format, the party may request paper copies from the Notice and Claims Agent

free     of      charge      by      (a) visiting        the   Debtors’      case      website       at

https://omniagentsolutions.com/Hornblower, (b) writing to Hornblower Ballot Processing c/o

Omni Agent Solutions, Inc., 5955 De Soto Avenue, Suite 100, Woodland Hills, CA 91367,

emailing HornblowerInquiries@OmniAgnt.com (with “Hornblower Solicitation” in the subject

line), or (c) calling the Debtors’ restructuring hotline at (888) 504-8055 (domestic toll-free) or +1

(747) 263-0163 (international toll). The Plan and Disclosure Statement are also available free of

charge on the Debtors’ case website at https://omniagentsolutions.com/Hornblower.



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        29.       In addition, for purposes of serving the Solicitation Package (with respect to voting

and non-voting parties), the Debtors seek authority for the Notice and Claims Agent to rely on the

address information maintained by the Debtors and provided to the Notice and Claims Agent as of

the Voting Record Date. The Debtors further request that the Court waive (a) any requirement to

re-mail undeliverable Solicitation Packages or other undeliverable solicitation-related notices that

were returned marked “undeliverable,” “moved—no forwarding address,” or otherwise returned,

unless the Debtors and/or the Notice and Claims Agent have been informed in writing by such

person of that person’s new address seven (7) days prior to the Voting Deadline and (b) any

obligation for the Debtors or the Notice and Claims Agent to conduct any additional research for

updated addresses based on undeliverable Solicitation Packages or other undeliverable

solicitation-related notices.

           iii.   Approval of the Form of Ballots

        30.       Bankruptcy Rule 3018(c) provides that a vote to accept or reject a plan shall be on

a form that conforms substantially to the appropriate official form. Fed. R. Bankr. P. 3018(c). In

accordance with Bankruptcy Rule 3018(c), the Debtors have prepared Ballots, substantially in the

forms attached to the Order as Exhibits E – 1 through E – 4, for Holders of Claims in the Voting

Classes, including (a) a Ballot for Holders of Class 3 First Lien Claims, (b) a Ballot for Holders of

Class 4 Revolver Claims, (c) a Ballot for Holders of Class 5 General Unsecured Claims, and (d) a

Ballot for Holders of Class 6 Unsecured Go-Forward Trade Claims. The Ballots comply with

Bankruptcy Rule 3018(c) and conform substantially to Official Form No. 314, having been

modified to address the particular circumstances of these chapter 11 cases and including certain

additional information that is relevant and appropriate for the Holders of Claims in the Voting

Classes.



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        31.      The Debtors, through the Notice and Claims Agent, will distribute (or will cause to

be distributed) the Ballots to the Holders of Claims in the Voting Classes as of the Voting Record

Date. 7 The Notice and Claims Agent will then tabulate the beneficial Holder votes contained in

each such Ballot received.

        32.      In addition to accepting physical Ballots, the Debtors request authorization to

accept Ballots via electronic transmissions, solely via upload to the online balloting portal on the

Debtors’      case     website       maintained       by     the     Notice      and      Claims       Agent      at

https://omniagentsolutions.com/Hornblower-Ballots (the “Ballot Upload Portal”). Parties entitled

to vote may, where applicable, upload a completed Ballot and submit the Ballot instantly by

utilizing the Ballot Upload Portal. Instructions for electronic, online transmission of Ballots are

set forth on the forms of Ballots, in the Disclosure Statement, and on the Debtors’ case website at

https://omniagentsolutions.com/Hornblower-Ballots. The encrypted ballot data and audit trail

created by such electronic submission shall become part of the record of any Ballot submitted in

this manner and the electronic signature of the party entitled to vote will be deemed to be

immediately legally valid and effective. Ballots submitted by utilizing the online balloting portal

will be deemed to include an original electronic signature.

        33.      Each Ballot contains detailed instructions on how to complete it and how to make

any applicable elections contained therein. In particular, each Ballot indicates that, to be counted

as a vote to accept or reject the Plan, the Ballot must be properly executed, completed, and

delivered to the Notice and Claims Agent so that it is received no later than the Voting Deadline.



7
    As discussed below, the remaining Non-Voting Classes are not entitled to vote on the Plan and therefore will not
    receive Ballots because (a) they are deemed unimpaired and are therefore conclusively presumed to accept the
    Plan pursuant to section 1126(f) of the Bankruptcy Code or (b) they are not entitled to receive or retain any
    property under the Plan and are therefore deemed to reject the Plan pursuant to section 1126(g) of the Bankruptcy
    Code.


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       34.     The Ballots also clearly indicate that, if a Holder does not vote to either accept or

reject the Plan or votes to accept or reject the Plan and, in each case, does not check the box in

Item 3 of the Ballots indicating an intent to opt out of granting the releases provided in Article

IX.D of the Plan (which provisions are annexed as Exhibit 1 to each Ballot, substantially in the

form attached to the Order as Exhibit E-5), such voting Holder will be deemed to have consented

to the release provisions set forth in Article IX.D.

       35.     Finally, the materials in the Solicitation Packages establish and communicate how

the Notice and Claims Agent will tabulate the votes and elections contained in the Ballots. Those

tabulation rules provide, among other things, that: (a) a timely, executed, and otherwise valid

Ballot submitted by a Holder of Claims in a Voting Class will supersede and revoke any prior

Ballot(s) submitted by that Holder, provided, that if a Holder of Claims timely submits both a

paper Ballot and an electronic Ballot on account of the same Claim, the electronic Ballot shall

supersede the paper Ballot; (b) Ballots that attempt to partially accept and partially reject the Plan

will not be counted; (c) illegible Ballots will not be counted; (d) Ballots containing insufficient

information to identify the claimant will not be counted; and (e) Ballots received after the Voting

Deadline (provided that the Voting Deadline has not been extended) will not be counted. As

specified on the Ballots, any Ballot that is otherwise properly completed, executed, and timely

returned to the Notice and Claims Agent, but does not indicate an acceptance or rejection of the

Plan, or that indicates both an acceptance and rejection of the Plan, will not be counted as a vote

in determining acceptance or rejection of the Plan.

         iv.   Approving the Procedures to Tabulate Votes on the Plan




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       36.     The Debtors request that the Court approve the voting and tabulation procedures

described herein in accordance with section 1126(c) of the Bankruptcy Code. Specifically, section

1126(c) of the Bankruptcy Code provides that:

       A class of claims has accepted a plan if such plan has been accepted by creditors,
       other than any entity designated under subsection (e) of this section, that hold at
       least two-thirds in amount and more than one-half in number of the allowed claims
       of such class held by creditors, other than any entity designated under subsection
       (e) of this section, that have accepted or rejected such plan.

11 U.S.C. § 1126(c).

       37.     As described above and in the Ballots, in tabulating the votes of the Voting Classes,

the Notice and Claims Agent will not count or consider for any purpose in determining whether

the Plan has been accepted or rejected the following Ballots, subject to the Debtors’ right to waive

any of the below specified requirements for completion and submission of Ballots: (a) except in

the Debtors’ sole discretion, any Ballot received after the Voting Deadline; (b) any Ballot that is

illegible or contains insufficient information to permit the identification of the claimant; (c) any

Ballot cast by a person or entity that does not hold a Claim in the Voting Classes; (d) any unsigned

Ballot; (e) any Ballot delivered directly to the Court, the Debtors, or the Debtors’ agents or advisors

(other than the Notice and Claims Agent); or (f) except in the Debtors’ sole discretion, any Ballot

transmitted to the Notice and Claims Agent by telecopy, facsimile, e-mail, or other electronic

means not using the Notice and Claims Agent’s Ballot Upload Portal. As specified on the Ballot,

any Ballot that is otherwise properly completed, executed, and timely returned to the Notice and

Claims Agent, but does not indicate an acceptance or rejection of the Plan, or that indicates both

an acceptance and rejection of the Plan, will not be counted as a vote on the Plan.

       38.     The Debtors require that the Holders of Claims in their respective Voting Classes

vote all of their Claims, as applicable, either to accept or reject the Plan. Except as otherwise

discussed below, subject to the Debtors’ right to waive such requirement, the Debtors propose that

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whenever two or more Ballots are cast voting the same Claim, the last timely, executed, and

otherwise valid Ballot received before the Voting Deadline should be deemed to reflect the voter’s

intent and to thus supersede any prior Ballot(s), without prejudice to the Debtors’ right to object

to the validity of the second ballot on any basis permitted by law, provided, that if a Holder of

Claims timely submits both a paper Ballot and an electronic Ballot on account of the same Claim,

the electronic Ballot shall supersede the paper Ballot.

       39.     Bankruptcy Rule 3018(a) provides in relevant part that “[n]otwithstanding

objection to a claim or interest, the court after notice and a hearing may temporarily allow the

claim or interest in an amount which the court deems proper for the purpose of accepting or

rejecting a plan.” To establish Claim amounts for the purposes of voting, the Debtors propose to

utilize the following procedures:

               a.      Holders of Claims Entitled to Vote: Only Holders of Claims, as of the
                       Voting Record Date in the Voting Classes shall be entitled to vote on the
                       Plan in respect of their Claims, subject to the procedures set forth herein.

               b.      Class 3 First Lien Claims: The amount of First Lien Claims in Class 3 First
                       Lien Claims for voting purposes only will be determined by reference to the
                       list of lenders to the First Lien Credit Agreement and those lenders’
                       corresponding First Lien Claim as of the Voting Record Date as reflected
                       in the loan register maintained by the administrative agent under the First
                       Lien Credit Agreement, which shall be provided by such administrative
                       agent no later than one (1) Business Day following the Voting Record
                       Date. For voting purposes, any and all Proofs of Claim filed on account of
                       Class 3 First Lien Claims shall be disregarded. A vote by a Holder of Class
                       3 First Lien Claims to accept (or reject) the Plan shall apply to the unsecured
                       portion of such Claims and be deemed a vote to accept (or reject) the Plan
                       with respect to such Holder’s HB First Lien Deficiency Claims.

               c.      Class 4 Revolver Claims: The amount of Revolver Claims in Class 4
                       Revolver Claims for voting purposes only will be determined by reference
                       to the list of lenders to the Revolver Credit Agreement and those lenders’
                       corresponding Revolver Claim as of the Voting Record Date as reflected in
                       the loan register maintained by the administrative agent under the Revolver
                       Credit Agreement, which shall be provided by such administrative agent no
                       later than one (1) Business Day following the Voting Record Date. For
                       voting purposes, any and all Proofs of Claim filed on account of Class 4

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                           Revolver Claims shall be disregarded. A vote by a Holder of Class 4
                           Revolver Claims to accept (or reject) the Plan shall apply to the unsecured
                           portion of such Claims and be deemed a vote to accept (or reject) the Plan
                           with respect to such Holder’s HB First Lien Deficiency Claims.

                 d.        HB First Lien Deficiency Claims in Class 5: The amount of the HB First
                           Lien Deficiency Claims in Class 5 for voting purposes only will be
                           determined by the amount of the unsecured portion of the HB First Lien
                           Claims as set forth in the Plan and (i) reference to the list of lenders to the
                           First Lien Credit Agreement and those lenders corresponding First Lien
                           Claim amounts as of the Voting Record Date as reflected in the loan register
                           maintained by the administrative agent under the First Lien Credit
                           Agreement, which shall be provided by such administrative agent no later
                           than one (1) Business Day following the Voting Record Date and (ii)
                           reference to the list of lenders to the Revolver Credit Agreement and those
                           lenders corresponding Revolver Claim amounts as of the Voting Record
                           Date as reflected in the loan register maintained by the administrative agent
                           under the Revolver Credit Agreement, which shall be provided by such
                           administrative agent no later than one (1) Business Day following the
                           Voting Record Date. For voting purposes, any and all Proofs of Claim filed
                           on account of Class 5 HB First Lien Deficiency Claims shall be disregarded.

                 e.        All Other Filed and Scheduled Claims (to the extent applicable):

                           i. the amount of the Claim agreed upon by the Debtors, as reflected in a
                              court pleading, stipulation, agreement, or other document filed with the
                              Court, in an order of the Court, or in a document executed by the Debtors
                              pursuant to authority granted by the Court;

                          ii. the amount of the Claim determined through a Voting Resolution Event
                              (as defined herein) in accordance with the resolution procedures set forth
                              herein;

                         iii. the amount of the Claim listed in a valid Proof of Claim filed on or
                              before the Voting Record Date as not contingent, not unliquidated, and
                              not disputed, if such Claim is not subject to an objection filed in the
                              Court on or before the date that is ten (10) days prior to the Voting
                              Deadline; 8 provided, however, that a Proof of Claim filed on or before
                              the Voting Record Date asserting a wholly contingent, wholly
                              unliquidated, and/or wholly disputed amount (as determined by the
                              Debtors) to which there is no objection filed on or before the date that is



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    If the Debtors file an objection to reduce and allow a Claim, the Claim shall vote in the reduced amount. If the
    Debtors file an objection to reclassify a Claim, the Claim shall be treated for solicitation and tabulation purposes
    as that reclassified Claim, which may include being moved out of one of the Voting Classes.


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                          ten (10) days prior to the Voting Deadline shall vote in the amount of
                          $1.00;

                     iv. the amount of the Claim listed in the Schedules and not otherwise set
                         forth in a Proof of Claim as not contingent, not unliquidated, and not
                         disputed as of the Voting Record Date; provided, however, that a Claim
                         listed in the Schedules and not otherwise set forth in a Proof of Claim as
                         contingent, unliquidated, or disputed shall vote in the amount of $1.00
                         (solely for the purposes of satisfying the dollar amount provisions of
                         section 1126(c) of the Bankruptcy Code); and

                      v. in the absence of any of the foregoing and to the extent a Claim is the
                         subject of an objection filed in the Court on or before the date that is ten
                         (10) days prior to the Voting Deadline, the Claim shall be disallowed for
                         voting purposes, except as otherwise ordered by the Court.

       40.     Subject to the procedures described immediately above, Holders of Claims that are

subject to a pending objection by the Debtors are not entitled to vote the disputed portion of their

Claim, and the Debtors will provide notice to such Holders, substantially in the form attached to

the Order as Exhibit G, to explain to such Holders the following procedures for establishing claim

amounts for voting purposes and attempting to obtain a Voting Resolution Event (as defined

below) where possible (the “Disputed Claim Notice”). A Holder of a Claim not entitled to vote

on the Plan pursuant to the procedures described immediately above shall be permitted to vote

such Claim (or to vote such Claim in an amount other than the amount set forth in the Schedules)

only if one of the following shall have occurred with respect to such claim (a “Voting Resolution

Event”) on or before May 17, 2024 (the “Voting Resolution Event Deadline”):

               a.      Agreement Between the Parties. A stipulation or other agreement is
                       executed between the Holder of such Claim and the Debtors allowing the
                       Holder of such Claim to vote such Claim in an agreed upon amount.

               b.      Bankruptcy Rule 3018(a) Motion. A Holder files with the Court a motion
                       pursuant to Bankruptcy Rule 3018(a) (a “Rule 3018(a) Motion”) on or
                       before the Voting Resolution Event Deadline seeking temporary Allowance
                       of its Claim for voting purposes in the amount other than set forth in the
                       Schedules or in response to an objection filed by the Debtors that has not
                       otherwise been sustained by the Court after notice and a hearing.


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                           1. The Debtors request that the Court direct that any Rule 3018(a)
                              Motion must: (i) be made in writing, (ii) comply with the
                              Bankruptcy Code, the Bankruptcy Rules, and the Bankruptcy Local
                              Rules, (iii) set forth the name of the party asserting the Rule 3018(a)
                              Motion, (iv) state with particularity the legal and factual bases for
                              the Rule 3018(a) Motion, and (v) be set for hearing at or before the
                              Combined Hearing.

                           2. The Debtors further request that, in the event that the Debtors and
                              such party are unable to resolve any issues raised by the Rule
                              3018(a) Motion before submitting their voting certification, the
                              Notice and Claims Agent shall tabulate the vote as if no Rule
                              3018(a) Motion was filed and shall include in the voting certification
                              representations that such vote was subject to a Rule 3018(a) Motion
                              and whether including such Ballot in the amount sought by the party
                              in the Rule 3018(a) Motion would change the particular Voting
                              Class’s acceptance or rejection of the Plan. The Court then shall
                              determine at or before the Combined Hearing whether the Ballot
                              should be counted as a vote on the Plan and in what amount.

               c.      Other Order of the Court. The Court otherwise orders the allowance of such
                       Claim for purposes of voting to accept or reject the Plan.

       41.     The Debtors propose that the Notice and Claims Agent will provide any party that

is permitted to provisionally vote its Claim on account of the timely occurrence of a Voting

Resolution Event with a Solicitation Package, including a Ballot, within one (1) business day after

the Voting Resolution Event Deadline. Such parties must then return a completed, properly

executed Ballot to the Notice and Claims Agent so that it is received no later than the Voting

Deadline (unless the Debtors extend the deadline, in their sole discretion, to facilitate a reasonable

opportunity for such creditor to vote on the Plan). This affords parties voting provisional claims

approximately four days to vote on the Plan.

       42.     The Debtors respectfully request that the Court approve the proposed voting and

tabulation procedures and related relief set forth herein in accordance with section 1126(c) of the

Bankruptcy Code and Bankruptcy Rule 3018(a). Furthermore, the Debtors request that the Notice




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and Claims Agent be permitted to inspect, monitor, and supervise the solicitation process, inspect

and tabulate the Ballots, and certify to the Court the results of the balloting.

           vi. Establishing a Voting Deadline

       43.     The Debtors propose to establish 4:00 p.m. (prevailing Central Time) on May

24, 2024 as the Voting Deadline for Holders in the Voting Classes, thereby establishing a

solicitation period of at least twenty-nine (29) calendar days pursuant to the solicitation mailing,

respectively (the “Solicitation Period”). The Debtors believe this is ample time for voting Holders

to come to an informed decision on whether to vote to accept or reject the Plan and to submit their

respective Ballots to the Notice and Claims Agent so that such Ballots are actually received by the

Voting Deadline. The Debtors further believe that the Voting Deadline and proposed Solicitation

Period are appropriate as they allow the Debtors to comply with the milestones set forth in the

RSA. These milestones maintain a speedy and efficient timeline in which to achieve confirmation

of the Plan, thereby maximizing the value of the Debtors’ estates. Accordingly, given the duration

of the Solicitation Period and the circumstances giving rise to the Plan, the Debtors respectfully

submit that the proposed Voting Deadline is reasonable under the circumstances and is sufficient

and appropriate for the Holders of Claims in the Voting Classes to make an informed decision with

respect to the Plan.

          vii. Non-Solicitation of Classes Presumed to Accept or Deemed to Reject the Plan

       44.     Section 1126(f) of the Bankruptcy Code provides that a class that is unimpaired by

a plan does not need to be solicited, as “each holder of a claim or interest of such class [is]

conclusively presumed to have accepted the plan.” See 11 U.S.C. § 1126(f). Section 1126(g) of

the Bankruptcy Code provides that a class that is fully impaired by a plan and does not entitle its




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holders to receive or retain any property or recovery does not need to be solicited, as such class is

deemed to reject the Plan. See 11 U.S.C. § 1126(g).

        45.    The Plan provides that Holders of Claims in Class 1 (Other Secured Claims) and

Class 2 (Other Priority Claims) are unimpaired. Pursuant to section 1126(f) of the Bankruptcy

Code, such Holders in those Classes are conclusively presumed to accept the Plan and will not be

solicited.

        46.    In addition, pursuant to the Plan, Class 7 (Intercompany Claims) and Class 8

(Intercompany Interests) will either be (a) unimpaired and presumed to accept the Plan or

(b) impaired and deemed to reject the Plan. Class 9 (Section 510(b) Claims) and Class 10 (Interests

in Hornblower and Hornblower Holdings LLC) will be impaired and deemed to reject the Plan.

Therefore, pursuant to sections 1126(f) and 1126(g) of the Bankruptcy Code, as applicable,

Holders in Classes 8, 9, and 10 will not be solicited.

        47.    The Debtors respectfully request a waiver of the requirement that they mail copies

of the Plan and Disclosure Statement to Holders of Claims or Interests in the above-described

Non-Voting Classes (such Holders, the “Non-Voting Holders”). See Fed. R. Bankr. P. 3017(d)

(requiring transmission of court-approved disclosure statement to, inter alia, classes of unimpaired

creditors and equity security holders). The Debtors believe that it would be a material and

unnecessary administrative burden on the Debtors to transmit the Solicitation Package to Holders

of Claims or Interests that have been deemed to accept or reject the Plan.

        48.    In lieu of furnishing each Non-Voting Holder with the Solicitation Package, the

Debtors propose to send to the Non-Voting Holders in Class 1 (Other Secured Claims), Class 2

(Other Priority Claims), Class 9 (Section 510(b) Claims), and Class 10 (Interests in Hornblower

and Hornblower Holdings LLC), the notice of non-voting status (the “Notice of Non-Voting



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Status”), which the Debtors propose to mail (or cause to be mailed) to such Holders by the

Solicitation Deadline. The Notice of Non-Voting Status sets forth a summary of the Plan, the

treatment of such Non-Voting Holder’s Claims, and the manner in which a copy of the Plan and

the Disclosure Statement may be obtained. In addition, the Debtors have made the Disclosure

Statement and the Plan available at no cost on the Debtors’ case website at

https://omniagentsolutions.com/Hornblower. With respect to Class 7 (Intercompany Claims) and

Class 8 (Intercompany Interests) the Debtors request a waiver of any requirement to serve a Notice

of Non-Voting Status or any other type of notice in connection with the Plan because such Claims

and Interests are held by the Debtors and their affiliates.

       49.     The Notice of Non-Voting Status, attached as Exhibit F to the Order, contains the

full text of the release, exculpation, and injunction provisions set forth in Articles IX.C, D, E, and

F of the Plan and advises such Non-Voting Holders that they will be deemed to have consented to

the third-party release provision in Article IX.D of the Plan unless they timely and properly choose

to opt out by properly executing, completing, and delivering the third-party release opt-out form

attached to the Notice of Non-Voting Status to the Notice and Claims Agent so that it is received

no later than the Voting Deadline. The Notice of Non-Voting Status also includes instructions for

where Holders can obtain copies of the Plan, Disclosure Statement, and related exhibits such as

the valuation analyses, financial projections, liquidation analyses, and Plan Supplement

documents, and information generally about the Plan and Combined Hearing.                 Under the

circumstances, the Debtors submit that the Notice of Non-Voting Status will be adequate and

appropriate to provide the Non-Voting Holders notice of their non-voting status and the

opportunity to object to and/or opt out of the third-party release provision set forth in Article IX.D

of the Plan.



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       50.     The Solicitation Procedures undertaken by the Debtors and described herein with

respect to the Non-Voting Holders comply with the Bankruptcy Code and should be approved.

Accordingly, the Debtors respectfully request that the Court approve the Solicitation Procedures

with respect to these Classes.

D.     The Court Should Establish the Combined Hearing Date and Approve Notice
       Thereof and Objection Procedures

       51.     Section 1128(a) of the Bankruptcy Code provides that “[a]fter notice, the court shall

hold a hearing on confirmation of a plan.” 11 U.S.C. § 1128(a). Bankruptcy Rule 3017(c)

provides that in the order approving a disclosure statement, the court “may fix a date for the hearing

on confirmation” of a plan. In addition, Bankruptcy Rule 3020(b)(1) authorizes the Court to fix a

time for filing objections to confirmation of a plan of reorganization. See Fed. R. Bankr. P.

3017(a). Bankruptcy Rule 2002(b) further requires that 28 days’ notice be given by mail to all

creditors of the time fixed for filing objections to confirmation of a plan of reorganization, subject

to the Court’s discretion to shorten such period under Bankruptcy Rule 9006(c)(1).

       52.     As discussed above, the Debtors propose that the Combined Hearing be set, subject

to the Court’s schedule, on June 3, 2024, at 9:00 a.m. (prevailing Central Time), and that the Court

establish May 24, 2024 at 4:00 p.m. (prevailing Central Time) as the Objection Deadline. The

Debtors further propose that the Court direct that any objections with respect to the Plan must

(a) be in writing; (b) state the name and address of the objecting party and the amount and nature

of the Claim or Interest of such party; (c) state the legal and factual basis for and nature of any

objection; (d) conform to the applicable Bankruptcy Rules and Bankruptcy Local Rules; and (e) be

filed with the Court, together with proof of service.




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        53.      The proposed schedule for the Combined Hearing, including the fixing of the

Objection Deadline, is in the best interests of the Debtors, their estates, creditors, and all parties in

interest.

        54.      The Debtors further propose, no later than four (4) business days after the later of

(i) entry of the Order and (ii) the filing of the Debtors’ Schedules, to complete service (a) by mail

to all known Holders of Claims against and Interests in the Debtors and (b) to all Notice Parties,

in each case, as of the Voting Record Date, with a notice (the “Combined Hearing Notice”),

substantially in the form annexed as Exhibit A to the Order, setting forth, among other things,

(a) the date, time, and place of the Combined Hearing, (b) instructions for obtaining copies of the

Disclosure Statement, the Plan, and the Order conditionally approving the Disclosure Statement,

(c) the Objection Deadline and procedures for filing objections to confirmation of the Plan, and

(d) a summary of the Plan, including a chart summarizing the distributions under the Plan. The

Combined Hearing Notice also clearly provides that Non-Voting Holders in Class 1, Class 2, Class

9, and Class 10 who do not timely opt out of the releases provided in Article IX.D of the Plan

(which provisions are annexed to the Combined Hearing Notice) by the Voting Deadline will be

deemed to have granted the releases therein. In addition, as required by Bankruptcy Rule 2002(c),

Article IX.F of the Plan, which sets forth the entities subject to an injunction under the Plan and

the acts they are enjoined from pursuing, is set forth conspicuously in bold typeface in the

Combined Hearing Notice. 9

        55.      The Debtors propose to send the Combined Hearing Notice to Holders of Class 3

(First Lien Claims), Class 4 (Revolver Claims), Class 5 (General Unsecured Claims), and Class 6


9
    If a plan provides for an injunction against conduct not otherwise enjoined under the Bankruptcy Code,
    Bankruptcy Rule 2002(c) requires that the notice of hearing on plan confirmation provided under Bankruptcy
    Rule 2002(b)(2) include in conspicuous language a description of the injunction and the entities that would be
    subject to the injunction.


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(Unsecured Go-Forward Trade Claims) as reflected in the books and records maintained by the

applicable administrative agent or the Debtors’ books and records, as of the Voting Record Date.

       56.         To provide additional notice to parties in interest in these cases, the Debtors propose

to post to the Debtors’ case website various documents, including the following: (a) the Plan,

(b) the Disclosure Statement, (c) this motion and any orders entered in connection with this

motion,      and      (d) the   Combined       Hearing     Notice.       The     website    address     is

https://omniagentsolutions.com/Hornblower.

       57.         Bankruptcy Rule 2002(l) permits the Court to order “notice by publication if it finds

that notice by mail is impracticable or that it is desirable to supplement the notice.” The Debtors

request that the Court authorize the Debtors, in their discretion, to give supplemental Publication

Notice, substantially in the form annexed as Exhibit B to the Order, of the Combined Hearing on

a date no less than 28 days before the Combined Hearing in the national edition of the New York

Times, the San Francisco Chronicle, and in any other trade or other publications that the Debtors

deem prudent in their sole discretion. The Debtors believe that the publication of certain of the

contents of the Combined Hearing Notice in this manner would provide sufficient notice of the

date, time, and place of the Combined Hearing and the Objection Deadline (and related procedures)

to persons who do not otherwise receive the Combined Hearing Notice by mail.

       58.         As contemplated by the Plan, all Executory Contracts and Unexpired Leases of the

Hornblower Debtors (the “HB Contracts and Leases”) will be deemed assumed under the Plan as

of the Plan Effective Date unless such contract or lease (1) was previously assumed or rejected by

the Debtors pursuant to an Order of the Bankruptcy Court; (2) previously expired or terminated

pursuant to its terms; (3) is the subject of the motion to assume, assume and assign, or reject filed

by the Debtors that is pending on or before the date of entry of the Confirmation Order; or (4) is



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identified on the Schedule of Rejected Executory Contracts and Unexpired Leases, with such

Executory Contracts and Unexpired Leases to be rejected under the Plan. As further contemplated

by the Plan, all Executory Contracts and Unexpired Leases of the AQV Debtors (the “AQV

Contracts and Leases”), except as otherwise provided in the Plan or AQV Bidding Procedures

Order [Docket No. 166], will be deemed rejected under the Plan as of the Plan Effective Date,

unless such contract or lease (1) was previously assumed or rejected by the Debtors, pursuant to

an Order of the Bankruptcy Court; (2) previously expired or terminated pursuant to its terms; or

(3) is the subject of a motion to assume, assume and assign, or reject filed by the Debtors that is

pending on or before the date of entry of the Confirmation Order.

       59.     The Schedule of Rejected Executory Contracts and Unexpired Leases will be

included in the Plan Supplement. In advance of the Objection Deadline, the Debtors propose to

send a notice of rejection, a form of which is attached to the Order as Exhibit C (the “Rejection

Notice”), to the counterparties to HB Contracts and Leases identified on the Schedule of Rejected

Executory Contracts and Unexpired Leases. The Rejection Notice will notify such counterparties

of, among other things, their inclusion on the Schedule of Rejected Executory Contracts and

Unexpired Leases, their proposed treatment under the Plan, the date, time, and place of the

Combined Hearing, and the procedures to object to the rejection of such counterparty’s respective

Executory Contract(s) and/or Unexpired Lease(s) by the Objection Deadline.

       60.     In addition, as contemplated by the Plan, the Debtors propose to serve a cure notice,

a form of which is attached to the Order as Exhibit D (the “Cure Notice”), on counterparties to

Executory Contracts and Unexpired Leases to be assumed pursuant to Article V.A of the Plan by

no later than fourteen (14) days prior to the Combined Hearing. The Cure Notice will notify such

counterparties of, among other things, their proposed treatment under the Plan, their related Cure



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Claim, and the procedures to object to the assumption, assumption and assignment, or related Cure

Claim for such counterparty’s respective Executory Contract(s) and/or Unexpired Lease(s).

       61.     The proposed service of the Combined Hearing Notice will provide sufficient

notice to all parties in interest of the date, time, and place of the Combined Hearing and the

procedures for objecting to the confirmation of the Plan. In addition, the Publication Notice will

provide sufficient notice to persons who did not otherwise receive notice pursuant to the Combined

Hearing Notice. Further, the Rejection Notice will provide sufficient notice to all applicable

counterparties of Executory Contracts and Unexpired Leases identified on the Schedule of

Rejected Executory Contracts and Unexpired Leases of such Executory Contracts and Unexpired

Leases’ proposed treatment and the date, time, and place of the Combined Hearing and the

procedures for objecting to their agreement’s rejection and proposed treatment under the Plan.

Finally, the Cure Notice will provide sufficient notice to applicable counterparties of Executory

Contracts and Unexpired Leases to be assumed pursuant to Article V.A of the Plan of their

proposed treatment under the Plan, including applicable Cure Claims, and the procedures for

objecting to such proposed treatment.

       62.     The Debtors respectfully submit that the proposed dates and procedures comply

with the applicable Bankruptcy Rules and will afford all parties in interest ample notice of the

Combined Hearing and applicable objection deadlines and procedures, and therefore should be

approved. First, the Debtors’ proposed schedule would provide all parties, including all Holders

in the Voting Classes, with adequate notice of the Combined Hearing and Objection Deadline. In

addition, the requested relief otherwise complies with the applicable rules and will provide the

Court, the Debtors, and other parties in interest with sufficient time to consider any objections or

proposed modifications to the Plan before the Combined Hearing. Accordingly, the proposed dates



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and procedures will ensure that all parties will receive sufficient notice of the Objection Deadline

and the Combined Hearing in accordance with the applicable Bankruptcy Rule, and should

therefore be approved.

E.     The Court Should Approve the Rights Offering Procedures and the Form of Rights
       Offering Materials

       63.     Section 363(b) of the Bankruptcy Code provides, in relevant part, that a debtor,

“after notice and a hearing, may use, sell, or lease, other than in the ordinary course of business,

property of the estate.” In the Fifth Circuit, bankruptcy courts have authorized the use or sale of

property of the estate outside the ordinary course of business when such use or sale is grounded

upon a “sound business purpose” and is proposed in good faith. See, e.g., In re Cont’l Air Lines,

Inc., 780 F.2d 1223, 1226 (5th Cir. 1986) (“[F]or a debtor-in-possession or trustee to satisfy its

fiduciary duty to the debtor, creditors and equity holders, there must be some articulated business

justification for using, selling, or leasing the property outside the ordinary course of business.”).

Once a debtor articulates a valid business justification under section 363, a presumption arises that

the debtor’s decision was made on an informed basis, in good faith, and in the honest belief the

action was in the best interest of the company. See In re Pisces Energy, LLC, No. 09-36591-H5-

11, 2009 WL 7227880, at *6 (Bankr. S.D. Tex. Dec. 21, 2009) (holding that the ‘business judgment

test’ “requires a showing that the proposed course of action will be advantageous to the estate and

the decision be based on sound business judgment”). Further, once “the debtor articulates a

reasonable basis for its business decisions (as distinct from a decision made arbitrarily or

capriciously), courts will generally not entertain objections to the debtor’s conduct.” In re Johns-

Manville Corp., 60 B.R. 612, 616 (Bankr. S.D.N.Y. 1986). Thus, if a debtor’s actions satisfy the

business judgment rule, then the transaction in question should be approved under section

363(b)(1) of the Bankruptcy Code.


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       64.     The Rights Offering, which will fund costs associated with the Debtors’ emergence

from these chapter 11 cases, is a critical component of the Debtors’ proposed restructuring and a

key source of value for Eligible Holders. The Debtors and the Commitment Parties held extensive

arms-length negotiations of the Rights Offering terms.          Approval of the Rights Offering

Procedures and Rights Offering Materials is necessary to successfully effectuate the Rights

Offering and will provide the Eligible Holders a fair and reasonable opportunity to participate in

the Rights Offering. Approval of the Rights Offering Procedures and the Rights Offering Materials

is in the best interests of the Debtors’ estates, creditors, and all other parties in interest, and

constitutes an appropriate exercise of business judgment. Therefore, the form and manner of the

Rights Offering Materials should be approved.

                                  Non-Material Modifications

       65.     The Debtors request authorization, subject to any consent rights set forth in the

RSA, to make non-material changes to the Disclosure Statement, Plan, Combined Hearing Notice,

Solicitation Packages, Rights Offering Procedures, Rights Offering Materials, Notice of Non-

Voting Status, Ballots, Solicitation Procedures, Cure and Rejection Notices, voting and tabulation

procedures, and related documents, including changes to correct typographical and grammatical

errors, if any, and to make conforming changes to the Disclosure Statement, the Plan, and any

other materials in the Solicitation Packages before distribution, without further Order of the Court.

                                      No Previous Request

       66.     No previous request for the relief sought herein has been made by the

Debtors to this or any other court.

                                              Notice

       67.     Notice of the hearing on the relief requested in this motion will be provided by the

Debtors in accordance and compliance with Bankruptcy Rules 4001 and 9014, as well as the

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Bankruptcy Local Rules, and is sufficient under the circumstances. Without limiting the

foregoing, due notice will be afforded, whether by facsimile, electronic mail, overnight courier, or

hand delivery, to parties in interest, including (a) the U.S. Trustee; (b) the holders of the 30 largest

unsecured claims against the Debtors (on a consolidated basis); (c) counsel to the Ad Hoc Group,

Milbank LLP, 55 Hudson Yards, New York, NY 10001; (d) counsel to Crestview, Davis Polk &

Wardwell LLP, 450 Lexington Avenue, New York, NY 10017; (e) counsel to the Senior DIP

Lenders, White & Case LLP, 1221 Avenue of the Americas, New York, NY 10020; (f) proposed

counsel to the Creditors’ Committee, Pachulski Stang Ziehl & Jones LLP, 10100 Santa Monica

Blvd 13th Floor, Los Angeles, CA 90067; (g) counsel to Alter Domus (US) LLC, as agent under

the Superpriority Credit Agreement, Norton Rose Fulbright US LLP, 1301 6th Avenue, New York,

NY 10019; (h) counsel to GLAS Trust Company LLC, as agent under the Senior DIP Facility,

Seward & Kissel LLP, One Battery Park Plaza, New York, NY 10004; (i) counsel to GLAS Trust

Company LLC, as agent under the Junior DIP Facility and under the First Lien Credit Agreement,

ArentFox Schiff LLP, 1301 Avenue of the Americas, 42nd Floor, New York, NY 10019; (j)

counsel to UBS AG, Stamford Branch, as agent under the Revolving Credit Agreement, Cahill

Gordon & Reindel LLP, 32 Old Slip, New York, NY 10005; (k) the United States Attorney’s

Office for the Southern District of Texas; (l) the Internal Revenue Service; (m) the United States

Securities and Exchange Commission; (n) the state attorneys general for states in which the

Debtors conduct business; (o) other regulatory agencies having a regulatory or statutory interest in

these cases; and (p) any party that has requested notice pursuant to Bankruptcy Rule 2002

(collectively, the “Notice Parties”). The Debtors submit that, in light of the nature of the relief

requested, no other or further notice need be given.




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       68.    A copy of this motion is available on (a) the Court’s website, at

www.txs.uscourts.gov, and (b) the website maintained by the Debtors’ Notice and Claims Agent

at https://omniagentsolutions.com/Hornblower.

                         [Remainder of page intentionally left blank]




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       WHEREFORE, the Debtors respectfully request entry of the Order granting the relief

requested herein and such other relief as is just and proper.


March 18, 2024                                Respectfully submitted,

                                              By: /s/ John F. Higgins
                                              PORTER HEDGES LLP
                                              John F. Higgins (TX Bar No. 09597500)
                                              M. Shane Johnson (TX Bar No. 24083263)
                                              Megan Young-John (TX Bar No. 24088700)
                                              1000 Main St., 36th Floor
                                              Houston, Texas 77002
                                              Telephone: (713) 226-6000
                                              Facsimile: (713) 226-6248
                                              jhiggins@porterhedges.com
                                              sjohnson@porterhedges.com
                                              myoung-john@porterhedges.com

                                              - and -

                                              PAUL, WEISS, RIFKIND, WHARTON &
                                              GARRISON LLP
                                              Paul M. Basta (admitted pro hac vice)
                                              Jacob A. Adlerstein (admitted pro hac vice)
                                              Kyle J. Kimpler (admitted pro hac vice)
                                              Sarah Harnett (admitted pro hac vice)
                                              Neda Davanipour (admitted pro hac vice)
                                              1285 Avenue of the Americas
                                              New York, New York 10019
                                              Telephone: (212) 373-3000
                                              Facsimile: (212) 757-3990
                                              pbasta@paulweiss.com
                                              jadlerstein@paulweiss.com
                                              kkimpler@paulweiss.com
                                              sharnett@paulweiss.com
                                              ndavanipour@paulweiss.com

                                              Proposed Counsel to the Debtors and
                                              the Debtors in Possession
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                                    Certificate of Service

        I certify that on March 18, 2024, I caused a copy of the foregoing document to be served
by the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                            /s/ John F. Higgins
                                            John F. Higgins
